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                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

      UNITED STATES OF AMERICA                         §
                                                       §
                                                       § CASE NUMBER 4:20-CR-00142-SDJ
        v.                                             §
                                                       §
                                                       §
      DANIEL AUSTIN DUNN
                                                       §
                                                       §


                                                ORDER


.            The Court held an initial appearance on a Violation of Pretrial Release and considered the

      matter of Defendant’s right to a preliminary hearing. Defendant executed a waiver at hearing.

      Based on the signed waiver, the Court finds that there is probable cause to believe that the

      allegations have been committed by Defendant, DANIEL AUSTIN DUNN.

              So ORDERED and SIGNED this 2nd day of August, 2021.




                                                    ____________________________________
                                                    KIMBERLY C. PRIEST JOHNSON
                                                    UNITED STATES MAGISTRATE JUDGE
